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                     Exhibit F
Search Warrant for Mr. Kukushkin’s iPhone dated
              November 13, 2019
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